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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 2 of 26 PagelD #: 4387
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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 3 of 26 PagelD #: 4388
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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 4 of 26 PagelD #: 4389
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00444 Document 182 Filed 04/28/10 Page 5 of 26 PagelD #: 4390

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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 6 of 26 PagelD #: 4391
 

 

 

 

 

 

 

 

 

 

 

 

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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 7 of 26 PagelD #: 4392
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BuoWe % 9] ‘SdOd Buowe % G7 pasearoul ZO/| Ul SUINJOA sxy

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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 8 of 26 PagelD #: 4393

 
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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 9 of 26 PagelD #: 4394
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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 10 of 26 PagelD #: 4395
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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 11 of 26 PagelD #: 4396
 

 

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ent 182 Filed 04/28/10 Page 12 of 26 PagelD #: 4397

 

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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 14 of 26 PagelD #: 4399
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“SIEIOP Q0O'Z Pepuogel UUOUNSN
‘(yoea ‘sle19P OOO‘) j]OHWET pue xewedwWoe! Aq pamojjoy ‘| 90z Jaquiesaq
Ul SHIP 00'S UNM Jonpoud payersp AllAeay sow ayy sem ya/aue/qjoyedaq

 

 

 

Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 15 of 26 PagelD #: 4400
 

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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 16 of 26 PagelD #: 4401
 

 

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Case 3:05-cv-00444 Document 182 Filed 04/28/10 Page 17 of 26 PagelD #: 4402
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